        Case 3:20-cv-08570-JD        Document 889         Filed 01/29/25     Page 1 of 21

                                          PUBLIC-REDACTED


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17                                UNITED STATES DISTRICT COURT
18                               NORTHERN DISTRICT OF CALIFORNIA
19                                    SAN FRANCISCO DIVISION
20
   MAXIMILIAN KLEIN, et al., on behalf of             Case No. 3:20-cv-08570-JD
21 themselves and all others similarly situated,
                                                      Hon. James Donato
22               Plaintiffs,
                                                      ADVERTISER PLAINTIFFS’
23          v.                                        OPPOSITION TO DEFENDANT META
                                                      PLATFORMS, INC.’S MOTION TO
24 META PLATFORMS, INC.,                              EXCLUDE TESTIMONY OF DR.
                                                      TILMAN KLUMPP
25               Defendant.
                                                      Hearing Date: To Be Determined
26                                                    Hearing Time: To Be Determined
                                                      Courtroom 11, 19th Floor
27                                                    Judge: The Honorable James Donato

28
     Case No. 3:20-cv-08570-JD                       ADVERTISER PLAINTIFFS’ OPPOSITION TO META’S MOTION TO
                                               EXCLUDE EXPERT TESTIMONY AND OPINIONS OF DR. TILMAN KLUMPP
Case 3:20-cv-08570-JD   Document 889   Filed 01/29/25   Page 2 of 21
          Case 3:20-cv-08570-JD                   Document 889               Filed 01/29/25           Page 3 of 21

                                                        PUBLIC-REDACTED


 1                                                  TABLE OF AUTHORITIES
 2                                                                                                                               Page(s)
 3
      Cases
 4
      Aguilar v. Int’l Longshoremen’s Union Loc. No. 10,
 5       966 F.2d 443 (9th Cir. 1992)................................................................................................12

 6 AIG Ret. Servs., Inc. v. Altus Fin. S.A.,
       2011 WL 13213589 (C.D. Cal. Sept. 26, 2011)....................................................................14
 7
   In re Aluminum Warehousing Antitrust Litig.,
 8
       336 F.R.D. 5 (S.D.N.Y. 2020) .............................................................................................. 7
 9
   Bumpus v. Realogy Brokerage Grp. LLC,
10     2022 WL 867256 (N.D. Cal. Mar. 23, 2022) ............................................................ 2, 4, 8, 10

11 In re Capacitors Antitrust Litig.,
       2020 WL 870927 (N.D. Cal. Feb. 21, 2020) ......................................................................... 5
12
   CFM Commc’ns, LLC v. Mitts Telecasting Co.,
13     424 F. Supp. 2d 1229 (E.D. Cal. 2005) ................................................................................14
14
   CZ Servs., Inc. v. Express Scripts Holding Co.,
15    2020 WL 4518978 (N.D. Cal. Aug. 5, 2020).................................................................... 2, 12

16 Daubert v. Merrell Dow Pharms., Inc.,
      509 U.S. 579 (1993) .................................................................................................... 1, 2, 12
17
   Epic Games, Inc. v. Apple Inc.,
18    493 F. Supp. 3d 817 (N.D. Cal. 2020) ................................................................................... 1
19 F.T.C. v. Actavis, Inc.,

20    570 U.S. 136 (2013) ............................................................................................................12

21 Fed. Trade Comm’n v. Qualcomm Inc.,
       969 F.3d 974 (9th Cir. 2020)................................................................................................10
22
   In re Google Play Store Antitrust Litig.,
23     2022 WL 17252587 (N.D. Cal. Nov. 28, 2022)..................................................................... 2
24 King Drug Co. of Florence v. Smithkline Beecham Corp.,

25    791 F.3d 388 (3d Cir. 2015).................................................................................................12

26 Klein v. Meta Platforms, Inc.,
      2022 WL 17477101 (N.D. Cal. Dec. 6, 2022) ....................................................................... 1
27

28
                                                                        ii
      Case No. 3:20-cv-08570-JD                                     ADVERTISER PLAINTIFFS’ OPPOSITION TO META’S MOTION TO
                                                              EXCLUDE EXPERT TESTIMONY AND OPINIONS OF DR. TILMAN KLUMPP
           Case 3:20-cv-08570-JD                     Document 889                 Filed 01/29/25             Page 4 of 21

                                                            PUBLIC-REDACTED


      Koger v. Costco Wholesale Corp.,
 1       2023 WL 8188842 (N.D. Cal. Nov. 27, 2023)......................................................................13
 2
   LePage’s Inc. v. 3M,
 3    324 F.3d 141 (3d Cir. 2003).................................................................................................15

 4 Maldonado v. Apple, Inc.,
      2021 WL 1947512 (N.D. Cal. May 14, 2021) ......................................................................10
 5
   Maney v. Oregon,
 6    2024 WL 1695083 (D. Or. Apr. 19, 2024) ............................................................................ 5
 7
   PixArt Imaging, Inc. v. Avago Tech. Gen. IP (Singapore) Pte. Ltd.,
 8    2011 WL 5417090 (N.D. Cal. Oct. 27, 2011).......................................................................12

 9 Primiano v. Cook,
       598 F.3d 558 (9th Cir. 2010)................................................................................................. 2
10
   In re Rezulin Prods. Liab. Litig.,
11     309 F. Supp. 2d 531 (S.D.N.Y. 2004) ..................................................................................14
12 Sec. & Exch. Comm’n v. Ripple Labs, Inc.,

13    2023 WL 5670711 (S.D.N.Y. Mar. 6, 2023) ........................................................................12

14 Takeda Pharms. USA, Inc. v. Spireas,
      2019 WL 9596536 (E.D. Pa. Sept. 4, 2019) .........................................................................12
15
   Twin Cities Bakery Workers Health & Welfare Fund v. Biovail Corp.,
16    2005 WL 3675999 (D.D.C. Mar. 31, 2005), aff’d sub nom. Meijer, Inc. v. Biovail
      Corp., 533 F.3d 857 (D.C. Cir. 2008) ..................................................................................14
17
   United States v. Grinnell Corp.,
18
      384 U.S. 563 (1966) ............................................................................................................. 1
19
   Williams v. Illinois,
20    567 U.S. 50 (2012),
      abrogated on other grounds by Smith v. Arizona, 602 U.S. 779 (2024) ................................. 5
21
   Zavislak v. Netflix, Inc.,
22    2024 WL 2884649 (N.D. Cal. June 7, 2024) .............................................................. 9, 10, 12
23
      Statutes
24
      Fed. R. Evid. 702........................................................................................................................ 2
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      Case No. 3:20-cv-08570-JD                                        ADVERTISER PLAINTIFFS’ OPPOSITION TO META’S MOTION TO
                                                                 EXCLUDE EXPERT TESTIMONY AND OPINIONS OF DR. TILMAN KLUMPP
         Case 3:20-cv-08570-JD          Document 889 Filed 01/29/25              Page 5 of 21
                                           PUBLIC-REDACTED



 1                                             INTRODUCTION

 2          Yet again Defendant Meta Platforms, Inc. (“Meta”) has disregarded the Court’s admonition

 3 against Daubert motions and seeks to have Dr. Tilman Klumpp (“Klumpp”), an expert relied upon

 4 by Advertiser Plaintiffs (“Advertisers”), excluded. In their motion, it is clear that Meta fails to

 5 understand the purpose of Dr. Klumpp’s opinions as they relate to the applicable antitrust laws.

 6          Advertisers allege Meta illegally maintained its monopoly in the social advertising market

 7 through several courses of “predatory and exclusionary conduct.” See Klein v. Meta Platforms, Inc.,

 8 2022 WL 17477101, at *2 (N.D. Cal. Dec. 6, 2022) (Donato, J.). To prevail at trial on this theory,
 9 Advertisers must show “(1) the possession of monopoly power in the relevant market and (2) the

10 willful acquisition or maintenance of that power as distinguished from growth or development as a

11 consequence of a superior product, business acumen, or historic accident.” Epic Games, Inc. v. Apple

12 Inc., 493 F. Supp. 3d 817, 834 (N.D. Cal. 2020) (Donato, J.) (quoting United States v. Grinnell Corp.,

13 384 U.S. 563, 570-71 (1966)). The first part of this test involves evidence related to defining the

14 relevant antitrust market and determining whether Meta has “the power to control prices or exclude

15 competition” from the relevant market. Epic Games, 493 F. Supp. 3d at 834. The second part of this

16 test involves evidence that Meta’s conduct was “predatory or exclusionary” in that it resulted in “a

17 less competitive market.” Id. at 836.

18           Advertisers offer the testimony of two expert economists on these issues. Dr. Michael

19 Williams is prepared to testify as to, inter alia, the contours of the relevant antitrust market, the social

20 advertising market, and Meta’s market power in that market (i.e., part one of the Grinnell test). Dr.

21 Klumpp is prepared to testify as to whether the conduct alleged by Advertisers, if proven, would have

22 led to a less competitive social advertising market (i.e., part two of the Grinnell test). Klumpp’s is

23 root liability testimony by a qualified economist who reviewed a mountain of evidence in this case.

24 None of Meta’s grounds for exclusion contained it its motion to exclude (the “Motion” or “Mot.”)1

25 hold water. As such, the Motion should be denied.

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         ECF No. 878-1.
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     Case No. 3:20-cv-08570-JD                         ADVERTISER PLAINTIFFS’ OPPOSITION TO META’S MOTION TO
                                                 EXCLUDE EXPERT TESTIMONY AND OPINIONS OF DR. TILMAN KLUMPP
         Case 3:20-cv-08570-JD         Document 889 Filed 01/29/25            Page 6 of 21
                                          PUBLIC-REDACTED



 1                                          LEGAL STANDARD

 2            Dr. Klumpp’s opinions are admissible if “they are relevant, supported by the evidence, based

 3 on sound methodologies, and useful to the jury on topics that ordinary people would not necessarily

 4 understand without help.” In re Google Play Store Antitrust Litig., 2022 WL 17252587, at *3 (N.D.

 5 Cal. Nov. 28, 2022) (Donato, J.). 2 Relevance and connection to the evidence are linked. See Primiano

 6 v. Cook, 598 F.3d 558, 565 (9th Cir. 2010) (“Expert opinion testimony is relevant if the knowledge

 7 underlying it has a valid connection to the pertinent inquiry.”). An expert’s methodologies are sound

 8 if they have “a reliable basis in the knowledge and experience of the relevant discipline.” Primiano,
 9 598 F.3d at 565. For an expert’s testimony to be useful, it “must ‘fit’ the case, and be tied to the

10 claims and facts in a way that helps the jury decide the dispute between the parties.” CZ Servs., Inc.

11 v. Express Scripts Holding Co., 2020 WL 4518978, at *1 (N.D. Cal. Aug. 5, 2020) (Donato, J.).

12            Meta has moved to exclude Dr. Klumpp’s testimony under Fed. R. Evid. 702 and Daubert v.
13 Merrell Dow Pharms., Inc., 509 U.S. 579 (1993). 3 As applied to expert testimony challenged under

14 Daubert, “[t]he Rule 702 inquiry is ‘a flexible one,’ with no ‘definitive checklist or test.’” Google

15 Play Store, 2022 WL 17252587, at *3 (quoting Daubert). “Rule 702 should be applied with a liberal

16 thrust favoring admission.” Id. at *4. Dr. Klumpp’s testimony and report should be excluded only if

17 his “approach is ‘junk science’ akin to predicting criminality by feeling the bumps on a person’s

18 head.” Bumpus v. Realogy Brokerage Grp. LLC, 2022 WL 867256, at *3 (N.D. Cal. Mar. 23, 2022)

19 (Donato, J.). Because “the Court is a gatekeeper, not a fact finder . . . objections short of that are

20 fodder for cross-examination and not exclusion.” Google Play Store, 2022 WL 17252587, at *4.

21                                              ARGUMENT

22       I.       DR. KLUMPP’S PROPOSED TESTIMONY AND REPORT ARE ADMISSIBLE

23            Dr. Klumpp holds M.A. and Ph.D. degrees in Economics and is a Professor of Economics at

24 the University of Alberta, Canada, with extensive research and publications on microeconomics, law

25 and economics, industrial organization, and public economies. He applied this expertise to his

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         Unless otherwise indicated, emphasis is added and quotations are cleaned up.
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         Mot. at 1.
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     Case No. 3:20-cv-08570-JD                        ADVERTISER PLAINTIFFS’ OPPOSITION TO META’S MOTION TO
                                                EXCLUDE EXPERT TESTIMONY AND OPINIONS OF DR. TILMAN KLUMPP
         Case 3:20-cv-08570-JD         Document 889 Filed 01/29/25             Page 7 of 21
                                          PUBLIC-REDACTED



 1 analysis of the record evidence in this case, in particular                              that Advertisers

 2 allege impaired competition in the U.S. social advertising market. Dr. Klumpp submitted a detailed

 3 merits report on January 12, 2024 (“Klumpp Report”), 4 outlining the factual and theoretical

 4 foundations for his expert opinion, offered to assist the jury in determining

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20          In drafting his report and coming to these well-found conclusions, Dr. Klumpp consulted over

21 200 unique documents from the record in this case, 17 deposition transcripts, and over 70 secondary

22 sources, citing to nearly all of that material in his report.6 Given the centrality of these issues to the

23

24   4
       All “¶” cites are in reference to the Klumpp Report. The Klumpp Report and the Expert Merits
   Rebuttal Report of Dr. Tilman Klumpp, dated February 9, 2024 (“Klumpp Rebuttal”) are attached at
25
   Exs. 4 and 5, respectively, to the Declaration of Dr. Tilman Klumpp in Support of Advertiser
26 Plaintiffs’ Opposition to Meta’s Motion for Summary Judgment, filed contemporaneously herewith.
   5
       See ECF No. 825 at 3.
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   6
       See Klumpp Report at pp. 98-118.
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     Case No. 3:20-cv-08570-JD                        ADVERTISER PLAINTIFFS’ OPPOSITION TO META’S MOTION TO
                                                EXCLUDE EXPERT TESTIMONY AND OPINIONS OF DR. TILMAN KLUMPP
         Case 3:20-cv-08570-JD         Document 889 Filed 01/29/25              Page 8 of 21
                                          PUBLIC-REDACTED



 1 case, and the breadth of relevant material Dr. Klumpp reviewed and cited, Meta substantially

 2 concedes that Dr. Klumpp’s opinions and report are relevant and based on the evidence. But Meta

 3 argues his opinions should be excluded based largely upon the methodology he used (or in some

 4 instances, opted not to use) to reach them.

 5           Dr. Klumpp’s conclusions are admissible, then, barring a fatal flaw in his methodology.

 6 Bumpus, 2022 WL 867256, at *3 (“If the method is valid and reliable, and fits the case, it will be

 7 admitted; attacks on the quality of the data the expert used, the application of the methodology to the

 8 data, and the overall persuasiveness of the expert’s opinions are matters for cross-examination.”). No
 9 fatal flaw exists here. Meta’s attacks on Dr. Klumpp’s methodology, discussed in detail below, all

10 fall into the categories of attacks on the quality of data, application of his methodology, and the overall

11 persuasiveness of Dr. Klumpp’s opinions. None warrant excluding Dr. Klumpp’s opinions, as they

12 at most go to the weight and not the admissibility of his opinions.

13           A.      Dr. Klumpp’s Acceptance of Meta’s Market Power and Plaintiffs’ Allegations Is
                     Appropriate
14

15           In several places in its Motion, Meta criticizes the underlying assumptions Dr. Klumpp makes
                                    7
16 as a foundation for his opinions. These criticisms take two forms: first, that Dr. Klumpp improperly

17 assumed Meta’s position as a monopolist in the relevant market and/or misunderstood monopoly
               8
18 maintenance, and second, that Dr. Klumpp improperly assumed that Advertisers will prove their
                                                                        9
19 claims at trial (i.e., offered his opinions on an “if proven” basis). Both assumptions are entirely

20 proper.

21           To begin with, in accordance with the Court’s clear instruction that there be no overlap

22 between Advertisers’ expert economists, Dr. Klumpp’s proposed testimony on anticompetitive effects

23 will not overlap with Dr. Williams’s proposed testimony on the contours of the relevant antitrust

24 market and Meta’s market power within it. It is therefore appropriate for Dr. Klumpp to adopt Dr.

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26       See, e.g., ¶¶69, 133, 139.
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         Mot. at 1. Dr. Klumpp’s understanding of monopoly maintenance is addressed separately, below.
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         Id. at 2, 8-9.
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     Case No. 3:20-cv-08570-JD                        ADVERTISER PLAINTIFFS’ OPPOSITION TO META’S MOTION TO
                                                EXCLUDE EXPERT TESTIMONY AND OPINIONS OF DR. TILMAN KLUMPP
        Case 3:20-cv-08570-JD         Document 889 Filed 01/29/25             Page 9 of 21
                                         PUBLIC-REDACTED



 1 Williams’s conclusions that the relevant market in this case is the social advertising market, and Meta

 2 possesses market power within that market. See, e.g., Maney v. Oregon, 2024 WL 1695083, at *13

 3 (D. Or. Apr. 19, 2024) (noting it is “well established that an expert may rely on the opinions of other

 4 experts in formulating the expert’s own opinions”).

 5          It is also proper for Dr. Klumpp to assume the truth of Advertisers’ allegations—whether those

 6 allegations are proven by the evidence is the province of the jury, not an expert. See Williams v.

 7 Illinois, 567 U.S. 50, 57 (2012) (“Under settled evidence law, an expert may express an opinion that

 8 is based on facts that the expert assumes, but does not know, to be true. It is then up to the party who
 9 calls the expert to introduce other evidence establishing the facts assumed by the expert.”), abrogated

10 on other grounds by Smith v. Arizona, 602 U.S. 779 (2024); accord In re Capacitors Antitrust Litig.,

11 2020 WL 870927, at *2 (N.D. Cal. Feb. 21, 2020) (Donato, J.) (“Defendants’ objection that McClave

12 accepted the conspiracy period from class counsel without ‘independently verifying’ it is also a topic

13 for possible cross-examination and argument at trial, but not exclusion from the record. It is rather

14 odd to say that McClave did not ‘independently verify’ the conspiracy period. If he had opined on

15 what the conspiracy period properly should have been based on his own investigation and analysis,

16 defendants undoubtedly would have moved to strike such an opinion as legal in nature and

17 improper.”). Thus, Meta’s foundational attacks on Dr. Klumpp are defeated by copious antitrust law.

18          B.
19          Dr. Klumpp reviewed evidence related to
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26                        From this review and using his experience and expertise, Dr. Klumpp concludes
27 that

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     Case No. 3:20-cv-08570-JD                       ADVERTISER PLAINTIFFS’ OPPOSITION TO META’S MOTION TO
                                               EXCLUDE EXPERT TESTIMONY AND OPINIONS OF DR. TILMAN KLUMPP
          Case 3:20-cv-08570-JD      Document 889 Filed 01/29/25           Page 10 of 21
                                         PUBLIC-REDACTED



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 5           Unable to attack Dr. Klumpp’s reasonable conclusion head-on, Meta makes several tangential

 6 arguments, suggesting that Dr. Klumpp is unqualified to opine as to

 7                     Meta spends several pages of its Motion criticizing Dr. Klumpp’s conclusion that

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10                                                             This line of argument misses the point—
11 Dr. Klumpp is providing economic analysis as to whether Meta’s conduct was exclusionary and

12 anticompetitive. The label used to name the evidence Dr. Klumpp relied on is a red herring. In any

13 event, the record in this case is replete with evidence that:

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23                                                                         . Meta’s pages of arguments

24 that Dr. Klumpp “applied no economic reasoning” to observe undisputed facts underlying his

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     10
          See Mot. at 4-6.
26   11
       See Expert Merits Report of Markus Jakobsson, Ph.D., dated January 12, 2024, attached at Ex. 6
27 to the Declaration of Markus Jakobsson, Ph.D. in Support of Advertiser Plaintiffs’ Opposition to
   Meta’s Motion for Summary Judgment, filed contemporaneously herewith, at ¶¶46-140.
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     Case No. 3:20-cv-08570-JD                      ADVERTISER PLAINTIFFS’ OPPOSITION TO META’S MOTION TO
                                              EXCLUDE EXPERT TESTIMONY AND OPINIONS OF DR. TILMAN KLUMPP
Case 3:20-cv-08570-JD   Document 889   Filed 01/29/25   Page 11 of 21
Case 3:20-cv-08570-JD   Document 889   Filed 01/29/25   Page 12 of 21
Case 3:20-cv-08570-JD   Document 889   Filed 01/29/25   Page 13 of 21
Case 3:20-cv-08570-JD   Document 889   Filed 01/29/25   Page 14 of 21
Case 3:20-cv-08570-JD   Document 889   Filed 01/29/25   Page 15 of 21
          Case 3:20-cv-08570-JD        Document 889 Filed 01/29/25             Page 16 of 21
                                           PUBLIC-REDACTED



 1 opining on whether one party breached the contracts in question and this is not a circumstance where

 2 the parties’ respective rights or performance under the                      is outcome-determinative. 23

 3 Dr. Klumpp is prepared to testify about the anticompetitive effects of a series of contracts, a topic that

 4 is the purview of countless expert reports in federal antitrust litigation. 24 To do that analysis, he must

 5 be permitted to review the contracts and draw some conclusions about the rights and obligations those

 6 contracts impose on the parties. 25 Imposing Meta’s cumulative standard would effectively immunize

 7 all agreements from economic scrutiny in Sherman Act litigation.                   When evaluating the

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 9   23
          Meta’s cited authority is distinguishable. In PixArt Imaging, Inc. v. Avago Tech. Gen. IP
10   (Singapore) Pte. Ltd., 2011 WL 5417090, at *6 (N.D. Cal. Oct. 27, 2011), the court admitted the
     expert in question, finding that the expert’s conclusions that one party had “overstate[d] the amount
11   that [the counterparty] should have reported for purposes of royalty calculations” under a contract
     were “not evaluations of the rights of the parties under the [contract].” In Aguilar v. Int’l
12   Longshoremen’s Union Loc. No. 10, 966 F.2d 443, 447 (9th Cir. 1992), the Ninth Circuit affirmed
     exclusion of an expert’s opinion that it was reasonable to presume classwide reliance on a term in an
13   employment contract, a fundamental legal issue in the case. Dr. Klumpp’s opinion and report make
14   no such naked legal conclusions, but rather are straightforward readings of contractual provisions.
     Similarly, in CZ Servs., 2020 WL 4518978 at *4, this Court was concerned with limiting testimony
15   about whether certain “practices were illegal or unlawful”, id. at *3, or “whether any contractual
     provisions were satisfied or breached,” id. at *4, neither of which topics Dr. Klumpp will opine on.
16   24
         See, e.g., Zavislak, 2024 WL 2884649, at *16 (“An expert may also refer to the law in expressing
17   an opinion without that reference rendering the testimony inadmissible.”); Sec. & Exch. Comm’n v.
     Ripple Labs, Inc., 2023 WL 5670711, at *22 (S.D.N.Y. Mar. 6, 2023) (“Ferrell’s opinion about the
18   XRP contracts is limited to describing the commercial purposes of those contracts; he does not opine
     on any ultimate issues of law that govern this case. Ferrell does not offer any analysis of contract law
19   or interpret a disputed contract provision—indeed, the parties do not have any legal disputes about
20   the contracts. His opinion about the commercial purposes of the Ripple contracts is proper expert
     witness testimony that may explain how a contract operates in the marketplace.”); Takeda Pharms.
21   USA, Inc. v. Spireas, 2019 WL 9596536, at *1 (E.D. Pa. Sept. 4, 2019) (rejecting argument that expert
     report included “improper legal analysis of contracts involving the parties,” concluding that even
22   though the report “references legal documents, it does not appear that [the expert] is trying to ‘explain
     the law’ or render an opinion about ‘what the law requires.’ As such, the report and [the expert’s]
23   opinions do not warrant exclusion under Daubert.”).
24   25
       Meta’s argument that Dr. Klumpp’s analysis of litigation risk has “no basis in economics” is
   belied by decades of federal jurisprudence, including U.S. Supreme Court opinions, analyzing the
25 interplay between litigation risk and competition risk in the pharmaceutical pay-for-delay settlement

26 context. See, e.g., King Drug Co. of Florence v. Smithkline Beecham Corp., 791 F.3d 388, 404 (3d
   Cir. 2015) (“[T]he [Supreme] Court reasoned [in Actavis] that ‘even a small risk of invalidity’ may
27 not justify a ‘large payment’ (presumably enabled by ‘patent-generated monopoly profits’) that ‘likely
   seeks to prevent the risk of competition.’”) (quoting F.T.C. v. Actavis, Inc., 570 U.S. 136, 157 (2013)).
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     Case No. 3:20-cv-08570-JD                        ADVERTISER PLAINTIFFS’ OPPOSITION TO META’S MOTION TO
                                                EXCLUDE EXPERT TESTIMONY AND OPINIONS OF DR. TILMAN KLUMPP
          Case 3:20-cv-08570-JD      Document 889 Filed 01/29/25           Page 17 of 21
                                         PUBLIC-REDACTED



 1 anticompetitive effects of a contract or other agreement under the Sherman Act, for an expert’s

 2 opinion to be admissible under Meta’s standards, the expert cannot assume the agreement will be

 3 proven, must read and review the agreement, but then cannot opine as to what the agreement says or

 4 means for the parties. Conveniently for Meta, under this standard, an economist cannot opine on the

 5 anticompetitive effects of an anticompetitive contract or agreement at all. These too are “attacks on

 6 . . . the application of the methodology to the data,” Koger v. Costco Wholesale Corp., 2023 WL

 7 8188842, at *1 (N.D. Cal. Nov. 27, 2023) (Donato, J.), and are “matters for cross-examination.”

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 9           Dr. Klumpp opines that Meta’s
10                                                                                 Meta seeks exclusion
11 of this opinion because Dr. Klumpp, in Meta’s view, cannot offer opinions as to

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13           . 26 But contrary to Meta’s argument, Dr. Klumpp does not opine on any
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15           Well within the scope of his expertise, Dr. Klumpp analyzes the anticompetitive effects of
16 Meta’s conduct in the factual record. Faced with

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25                                               . As such, nothing in Dr. Klumpp’s opinion requires
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     26
          Mot. at 2-4.
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     Case No. 3:20-cv-08570-JD                      ADVERTISER PLAINTIFFS’ OPPOSITION TO META’S MOTION TO
                                              EXCLUDE EXPERT TESTIMONY AND OPINIONS OF DR. TILMAN KLUMPP
          Case 3:20-cv-08570-JD       Document 889 Filed 01/29/25            Page 18 of 21
                                          PUBLIC-REDACTED



 1                                 .27 To reach his conclusion, Dr. Klumpp assumes, and the record amply

 2 reflects, that Meta succeeded in making                                                          . ¶173.

 3 The finder-of-fact need only take Meta’s senior leadership at its word.

 4           Meta emphasizes the                                         ,28 but that case – which seeks the

 5 exact same remedies Dr. Klumpp suggests – actually corroborates Dr. Klumpp’s reliability.

 6

 7

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 9                                                                                 . But that is the subject
10 of trial. Meta does not seriously dispute Dr. Klumpp’s economic opinion that an

11

12                . Thus, such
13                                                                                         .
14           G.        Dr. Klumpp Did Not Conflate Monopoly Maintenance with Anticompetitive
                       Effect
15
             Finally, Meta argues that Dr. Klumpp improperly asserts that “the maintenance of monopoly
16
     power on its own constitutes an anticompetitive effect.” 29 This is a gross mischaracterization of Dr.
17
     Klumpp’s report. As outlined above, Dr. Klumpp’s conclusions all discuss frustration of competitive
18
     entry, a canonical anticompetitive effect. See LePage’s Inc. v. 3M, 324 F.3d 141, 159 (3d Cir. 2003)
19

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     27
         This distinguishes Meta’s cited authorities, each of which excluded experts that simply speculated
21
     into the relevant actor’s mind. See AIG Ret. Servs., Inc. v. Altus Fin. S.A., 2011 WL 13213589, at *3
22   (C.D. Cal. Sept. 26, 2011) (excluding testimony into the decision-making of the hypothetical “prudent
     commissioner”); Twin Cities Bakery Workers Health & Welfare Fund v. Biovail Corp., 2005 WL
23   3675999, at *3 (D.D.C. Mar. 31, 2005), aff’d sub nom. Meijer, Inc. v. Biovail Corp., 533 F.3d 857
     (D.C. Cir. 2008) (excluding unsupported testimony into when the FDA would have approved a new
24   drug); CFM Commc’ns, LLC v. Mitts Telecasting Co., 424 F. Supp. 2d 1229, 1236 (E.D. Cal. 2005)
     (excluding expert’s prediction as to the FCC’s application of statutes and regulations); In re Rezulin
25
     Prods. Liab. Litig., 309 F. Supp. 2d 531, 556-57 (S.D.N.Y. 2004) (excluding opinion as to whether
26   physicians would have prescribed a particular drug under different labelling).
     28
          Mot. at 4.
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     29
          Mot. at 10-11.
28
                                                      14
     Case No. 3:20-cv-08570-JD                       ADVERTISER PLAINTIFFS’ OPPOSITION TO META’S MOTION TO
                                               EXCLUDE EXPERT TESTIMONY AND OPINIONS OF DR. TILMAN KLUMPP
       Case 3:20-cv-08570-JD          Document 889 Filed 01/29/25             Page 19 of 21
                                          PUBLIC-REDACTED



 1 (“When a monopolist’s actions are designed to prevent one or more new or potential competitors from

 2 gaining a foothold in the market by exclusionary, i.e. predatory, conduct, its success in that goal is

 3 not only injurious to the potential competitor but also to competition in general.”); Phillip E. Areeda

 4 (late) & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their

 5 Application, ¶651(b)(5) (5th Ed.) (“Several anticompetitive actions by dominant firms are best

 6 explained as efforts to limit rivals’ market access by increasing their costs.”).

 7           Meta’s cherry-picked excerpts of Dr. Klumpp’s deposition are a feeble attempt to manufacture

 8 a foundational economic error from a difference in the terms Meta’s deposing counsel and Dr.
 9 Klumpp were using to describe the same concept:

10           Q.
11

12

13           A.
14

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19 Klumpp Depo. Tr. at 44:13-44:25 (Bathaee Decl. Ex. 103).

20                                             CONCLUSION

21           All of Dr. Klumpp’s conclusions will be useful to the jury in understanding how and why the

22 specific actions Meta took, when viewed in the context of Meta’s monopoly power, produced

23 anticompetitive effects in the social advertising market. All of Dr. Klumpp’s conclusions are

24 admissible. Meta’s Motion to Exclude the Report and Testimony of Dr. Tilman Klumpp should be

25 denied.

26 Dated: January 29, 2025

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     Case No. 3:20-cv-08570-JD                       ADVERTISER PLAINTIFFS’ OPPOSITION TO META’S MOTION TO
                                               EXCLUDE EXPERT TESTIMONY AND OPINIONS OF DR. TILMAN KLUMPP
       Case 3:20-cv-08570-JD            Document 889 Filed 01/29/25         Page 20 of 21
                                            PUBLIC-REDACTED



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     Case No. 3:20-cv-08570-JD                       ADVERTISER PLAINTIFFS’ OPPOSITION TO META’S MOTION TO
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       Case 3:20-cv-08570-JD         Document 889 Filed 01/29/25              Page 21 of 21
                                         PUBLIC-REDACTED



 1

 2                                        FILER ATTESTATION

 3          I am the ECF user who is filing this document. Pursuant to Civil L.R. 5-1(i)(3), I hereby attest

 4 that each of the other signatories have concurred in the filing of the document.

 5

 6 Dated: January 29, 2025                        By:     /s/Amanda F. Lawrence
                                                         Amanda F. Lawrence
 7

 8
                                      CERTIFICATE OF SERVICE
 9
            I hereby certify that on January 29, 2025, I caused a true and correct copy of the foregoing
10
     document to be served by electronic mail on all counsel of record.
11

12
     Dated: January 29, 2025                      By:  /s/Amanda F. Lawrence
13                                                  Amanda F. Lawrence
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     Case No. 3:20-cv-08570-JD                       ADVERTISER PLAINTIFFS’ OPPOSITION TO META’S MOTION TO
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